Case 6:20-cv-00376-ADA Document 29-6 Filed 11/05/20 Page 1 of 2




                EXHIBIT 5
                 Case 6:20-cv-00376-ADA Document 29-6 Filed 11/05/20 Page 2 of 2

                                            To appear in the SIGGRAPH 96 conferenceproceedings

    view 1



                               virtual view                 view 2



                                                a2
                                       a1
                                                                                                 (a)                         (b)

                model

Figure 12: The weighting function used in view-dependent texture
mapping. The pixel in the virtual view corresponding to the point
on the model is assigned a weighted average of the corresponding
pixels in actual views 1 and 2. The weights w1 and w2 are inversely
inversely proportional to the magnitude of angles a1 and a2 . Al-
ternately, more sophisticated weighting functions based on expected
foreshortening and image resampling can be used.                                                  (c)                         (d)
                                                                              Figure 13: View-dependent texture mapping. (a) A detail view of the
                                                                              high school model. (b) A rendering of the model from the same posi-
address this, the pixel weights are ramped down near the boundary             tion using view-dependent texture mapping. Note that although the
of the projected images. Although this method does not guarantee              model does not capture the slightly recessed windows, the windows
                                                                              appear properly recessed because the texture map is sampled pri-
smooth transitions in all cases, we have found that it eliminates most        marily from a photograph which viewed the windows from approx-
artifacts in renderings and animations arising from such seams.               imately the same direction. (c) The same piece of the model viewed
   If an original photograph features an unwanted car, tourist, or            from a different angle, using the same texture map as in (b). Since
other object in front of the architecture of interest, the unwanted ob-       the texture is not selected from an image that viewed the model from
ject will be projected onto the surface of the model. To prevent this         approximately the same angle, the recessed windows appear unnat-
from happening, the user may mask out the object by painting over             ural. (d) A more natural result obtained by using view-dependent
the obstruction with a reserved color. The rendering algorithm will           texture mapping. Since the angle of view in (d) is different than in
then set the weights for any pixels corresponding to the masked re-           (b), a different composition of original images is used to texture-map
                                                                              the model.
gions to zero, and decrease the weights of the pixels near the bound-
ary as before to minimize seams. Any regions in the composite im-
age which are occluded in every projected image are filled in using
the hole-filling method from [23].                                            ages taken from relatively far apart. The stereo correspondence in-
   In the discussion so far, projected image weights are computed at          formation can then be used to render novel views of the scene using
every pixel of every projected rendering. Since the weighting func-           image-based rendering techniques.
tion is smooth (though not constant) across flat surfaces, it is not             As in traditional stereo, given two images (which we call the
generally not necessary to compute it for every pixel of every face           key and offset), model-based stereo computes the associated depth
of the model. For example, using a single weight for each face of             map for the key image by determining corresponding points in the
the model, computed at the face’s center, produces acceptable re-             key and offset images. Like many stereo algorithms, our method is
sults. By coarsely subdividing large faces, the results are visually          correlation-based, in that it attempts to determine the corresponding
indistinguishable from the case where a unique weight is computed             point in the offset image by comparing small pixel neighborhoods
for every pixel. Importantly, this technique suggests a real-time im-         around the points. As such, correlation-based stereo algorithms gen-
plementation of view-dependent texture mapping using a texture-               erally require the neighborhood of each point in the key image to
mapping graphics pipeline to render the projected views, and -                resemble the neighborhood of its corresponding point in the offset
channel blending to composite them.                                           image.
   For complex models where most images are entirely occluded for                The problem we face is that when the key and offset images
the typical view, it can be very inefficient to project every original        are taken from relatively far apart, as is the case for our modeling
photograph to the novel viewpoint. Some efficient techniques to de-           method, corresponding pixel neighborhoods can be foreshortened
termine such visibility a priori in architectural scenes through spa-         very differently. In Figs. 14(a) and (c), pixel neighborhoods toward
tial partitioning are presented in [18].                                      the right of the key image are foreshortened horizontally by nearly
                                                                              a factor of four in the offset image.
                                                                                 The key observation in model-based stereo is that even though
4      Model-Based Stereopsis                                                 two images of the same scene may appear very different, they ap-
The modeling system described in Section 2 allows the user to cre-            pear similar after being projected onto an approximate model of the
ate a basic model of a scene, but in general the scene will have ad-          scene. In particular, projecting the offset image onto the model and
ditional geometric detail (such as friezes and cornices) not captured         viewing it from the position of the key image produces what we call
in the model. In this section we present a new method of recov-               the warped offset image, which appears very similar to the key im-
ering such additional geometric detail automatically through stereo           age. The geometrically detailed scene in Fig. 14 was modeled as
correspondence, which we call model-based stereo. Model-based                 two flat surfaces with our modeling program, which also determined
stereo differs from traditional stereo in that it measures how the ac-        the relative camera positions. As expected, the warped offset image
tual scene deviates from the approximate model, rather than trying            (Fig. 14(b)) exhibits the same pattern of foreshortening as the key
to measure the structure of the scene without any prior information.          image.
The model serves to place the images into a common frame of ref-                 In model-based stereo, pixel neighborhoods are compared be-
erence that makes the stereo correspondence possible even for im-             tween the key and warped offset images rather than the key and off-



                                                                          8
                                                                                                                       SUREFIELD-CC 000999
